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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

HOWARD BROWN, ET AL, §
§
PLAINTIFFS, §
§
VERSUS § CIVIL ACTION NO.
§  3:23-cv-24-SMH-CBW
UNITED STATES MARSHAL’S §
SERVICE, ET AL, §
§
DEFENDANTS. §
ORDER

 

HAVING CONSIDERED, the Motion for Extension of Time to file Responsive Pleadings
by Metropolitan Security Services, Inc.;

IT IS HEREBY ORDERED, that Defendant*’s motion is granted, and Metropolitan
Security Services, Inc., is given an additional twenty-one days to file its responsive pleadings to
Plaintiffs’ Amended Complaint up to and including June 1, 2023.

Signed on this llth day of May _, 2023 in __ Lafayette , Louisiana.

 

 
